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                          Exhibit E
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    Disinfo Cloud                                                                                                            




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         Disinfo Cloud

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    Disinfo Cloud is an unclassified platform used by the U.S. government, foreign partners, and
    technology providers to identify and learn about technologies to counter adversarial propaganda and
    disinformation. Disinfo Cloud is also a gateway to the TET’s Testbed – established to rapidly identify,
    assess, test, and implement these technologies. TET invites all interested U.S. government
    stakeholders and foreign partners to sign up for an account on the Disinfo Cloud website. TET
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https://2017-2021.state.gov/disinfo-cloud-launch/index.html                                                                         1/4
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    welcomes all feedback and is particularly interested in user requirements against which the
    technologies can be tested.




    A Look Inside
    The dashboard shows the number of technologies currently on the testbed, the number of
    technologies at each stage of assessment, and the types of technologies they represent. Disinfo Cloud
    offers a continuously updated feed of the latest research, news and related events published by third
    parties.


    Disinfo Cloud offers a continuously updated newsfeed of the latest research, news and related events
    published by third parties.




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    Why Disinfo Cloud?




    Problem: The TET knows there are a wide range of propaganda and disinformation challenges faced
    by the U.S. government and foreign partners. The team seeks guidance and information from its
    members in order to identify challenges, needs, and test proposals.




    Tool: Disinfo Cloud permits stakeholders to search for assessed tools or technologies. The TET can
    help identify appropriate counter propaganda and disinformation tools and technologies to suit different
    groups’ needs.




    Solution: Write to inform TET or Disinfo Cloud what your office needs to counter propaganda and
    disinformation. Ask us for assistance in identifying a technological solution or draft a test proposal for a
    tool. Can’t find a tool that fits your needs? Let Disinfo Cloud know by using the blue and green
    feedback buttons. The team is open to insights and is here to help implement ideas to move the
    counter propaganda and disinformation mission forward.

                                                              


    Disinfo Cloud and the Testbed are used by:
    Interagency
    The Census Bureau, U.S. Congress, Department of Defense, Department of Energy, Department of
    Homeland Security, Department, Department of state, Federal bureau of Investigation, Office of Global
    Affairs, Office of the Director of National Intelligence, the Treasury Department, U.S. Agency for Global
    Media, U.S. Department of Agriculture
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    Foreign Partners
    Australian Government, Estonian Government, European Union, and the United Kingdom
    Government


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    Including Academia, Private Sector, and Tech Vendors




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